                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

  UNITED STATES OF AMERICA                       )
                                                 )       Case No. 4:20-cr-07-01
  v.                                             )
                                                 )       Judge Travis R. McDonough
  DONALD WHITE                                   )
                                                 )       Magistrate Judge Susan K. Lee
                                                 )


                                              ORDER


          Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

 the Court: (1) accept Defendant’s plea of guilty to Count One and Count Two of the two-count

 Bill of Information; (2) adjudicate the Defendant guilty of the charges set forth in Count One and

 Count Two of the Bill of Information; (4) defer a decision on whether to accept the plea

 agreement until sentencing; and (5) order that Defendant remain in custody until sentencing in

 this matter (Doc. 13). Neither party filed a timely objection to the report and recommendation.

 After reviewing the record, the Court agrees with Magistrate Judge Lee’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation (Doc. 13) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as

 follows:

       1. Defendant’s plea of guilty to Count One and Count Two of the Bill of Information is

          ACCEPTED;

       2. Defendant is hereby ADJUDGED guilty of the charges set forth in Count One and Count

          Two of the Bill of Information;

       3. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and




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   4. Defendant SHALL REMAIN in custody pending sentencing in this matter which is

      scheduled to take place on January 22, 2021 at 9:00 a.m. before the undersigned.

   SO ORDERED.

                                          /s/Travis R. McDonough
                                          TRAVIS R. MCDONOUGH
                                          UNITED STATES DISTRICT JUDGE




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